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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


STEVE MARTINKO,
     an individual,

CONTENDER’S TREE AND LAWN SPECIALISTS, INC.,
    a Michigan Corporation,

MICHAEL LACKOMAR,                                             Case: 2:20-cv-10931-BAF-MJH
     an individual,
                                                              Hon. Bernard A. Friedman
WENDY LACKOMAR,                                               U.S. District Judge
    an individual,
                                                              Hon. Michael J. Hluchaniuk
and                                                           U.S. Magistrate Judge

JERRY FROST,
     an individual,

               Plaintiffs,

v.

GRETCHEN WHITMER, in her official capacity as
Governor of the State of Michigan,

               Defendant.

__________________________________________/

       NOTICE OF VOLUNTARY DISMISSAL OF PLAINTIFF JERRY FROST
          WITHOUT PREJUDICE PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

       Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, Plaintiff,

JERRY FROST, by and through his counsel, hereby seeks a voluntary dismissal of all of his

claims against Defendant without prejudice and without costs. Defendant has not been served and

has not filed an answer or a motion.




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                                               Respectfully submitted,

Date: April 17, 2020                           /s/ _David C. Helm______________
                                               HELM LAW
                                               By: DAVID C. HELM (P-75022)
                                               Attorney for Plaintiffs
                                               598 N. Mill St.
                                               Plymouth, MI 48170
                                               (248) 679-8804
                                               (248) 667-7802 fax
                                               David@HelmLawPC.com




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